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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                       11/9/2020
PLYMOUTH BEEF CO., INC.,
               Plaintiff,
                                                    20-CV-4029 (PGG) (BCM)
       -against-
                                                    ORDER
WONDER FOOD DISTRIBUTORS, et al.,
               Defendants.

BARBARA MOSES, United States Magistrate Judge.

        The Court has received and reviewed the parties’ confidential settlement letters submitted
in advance of the settlement conference currently scheduled for Tuesday, November 10, 2020.
The Court reminds the parties that the "purpose of a Court-facilitated settlement conference is to
settle the case if possible – not merely to begin a settlement dialogue," and that the Court
"normally holds only settlement conference per case." Order Scheduling Settlement Conference
(Scheduling Order) (Dkt. No. 40) ¶ 2. Accordingly, the Court directed the parties to "conduct at
least one good-faith settlement discussion, in person or by telephone, and convey at least one
good-faith demand or offer," prior to submitting their settlement letters. Id.

        It appears that from the parties’ settlement letters that they have not wholly complied
with the Scheduling Order. As a threshold matter, although the parties' confidential settlement
letters were due on November 3, 2020, the Court did not any submission defendants Wonder
Food Distributors, David Hamedan, and Jack Hamedan until November 6, 2020 at 1:21 p.m.,
despite multiple courtesy calls from chambers staff. Moreover, it is apparent from a review of the
settlement letters that the parties have not each made "at least one good-faith demand or offer" as
required.

        Accordingly, counsel are directed to meet and confer and submit a joint confidential
letter no later than Monday, November 9, 2020 at 2:00 p.m., confirming that the parties have
in fact engaged in a good-faith settlement discussion and reporting each party's latest good-faith
settlement demand or offer. The joint letter is to be submitted via email to
Chambers_NYSDMoses@nysd.uscourts.gov. If it is not received by 2:00 p.m. on November
9, 2020, the Court will adjourn the scheduled settlement conference.

Dated: New York, New York
       November 9, 2020

                                             SO ORDERED.



                                             ________________________________
                                             BARBARA MOSES
                                             United States Magistrate Judge
